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                             14                               UNITED STATES DISTRICT COURT

                             15                            NORTHERN DISTRICT OF CALIFORNIA

                             16 LUKE ADELMAN, ELIZABETH                            CASE NO. 3:20-cv-01178-JD
                                ANDERSON, ELLESSE ANDERSON,
                             17 JEFFREY BELLOWS, KATHERINE                         CLASS ACTION
                                BUTLER, CHEYENNE CHITRY,                           NOTICE OF APPEARANCE OF
                             18 CHRISTINA DENTON, JACQUELINE
                                                                                   ADDITONAL COUNSEL, MARTA MANUS,
                             19 FOSTER, JORGE GONZALEZ, JAMES                      ON BEHALF OF PLAINTIFFS
                                HANCOCK, DONNIE HYSO, ERIK
                             20 LORACK, CASEY MCKAY, HANNAH
                                ROTHSCHILD, CASSANDRA SWEENEY
                             21 AND MICHAEL WHITER, individually and               Complaint filed:   June 27, 2019
                                on behalf of all others similarly situated,        Removal date:      February 14, 2020
                             22                                                    Trial date:        Not set
                                                Plaintiffs,
                             23        vs.
                             24 STARBUCKS CORPORATION,

                             25                   Defendants.
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                                  Notice of Appearance of Counsel for Plaintiffs                       Case No. 3:20-cv-01178-JD
                                        Case 3:20-cv-01178-JD Document 76 Filed 07/25/22 Page 2 of 4



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                                  Notice of Appearance of Counsel for Plaintiffs          Case No. 3:20-cv-01178-JD
                                        Case 3:20-cv-01178-JD Document 76 Filed 07/25/22 Page 3 of 4



                              1 TO ALL PARTIES HEREIN AND TO THEIR COUNSEL OF RECORD:

                              2           NOTICE IS HEREBY GIVEN that the following attorney hereby enters a general

                              3 appearance as attorney for Plaintiffs LUKE ADELMAN, ELIZABETH ANDERSON,

                              4 ELLESSE ANDERSON, JEFFREY BELLOWS, KATHERINE BUTLER, CHEYENNE

                              5 CHITRY, CHRISTINA DENTON, JACQUELINE FOSTER, JORGE GONZALEZ, JAMES

                              6 HANCOCK,          DONNIE        HYSO,      ERIK    LORACK,        CASEY    MCKAY,      HANNAH

                              7 ROTHSCHILD, CASSANDRA SWEENEY, and MICHAEL WHITER:

                              8                                  COHELAN KHOURY & SINGER
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COHELAN KHOURY & SINGER
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                             13           Plaintiffs respectfully request that the following changes be made to the Court’s
    San Diego, CA 92101




                             14 electronic notification system:
                                                                                Add:
                             15                                           Marta Manus, Esq.
                             16                                          mmanus@ckslaw.com

                             17                                                COHELAN KHOURY & SINGER

                             18

                             19 Dated: July 25, 2022                            By /s/ Marta Manus
                                                                                        Marta Manus
                             20                                                Attorneys for Plaintiffs

                             21

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                                  Notice of Appearance of Counsel for Plaintiffs                          Case No. 3:20-cv-01178-JD
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 1                                        PROOF OF SERVICE

 2 Anderson, et al. v. Starbucks Corporation

 3 U.S.D.C. Case No. 3:20-cv-01178-JD
 4         I, Karla Sousa, declare as follows:

 5         I am employed in the County of San Diego, State of California. I am over the age of 18

 6 and not a party to this action. My business address is 605 C Street, Suite 200, San Diego, CA

 7 92101. On July 25, 2022, I instituted service of the foregoing document(s) described as:

 8      NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL, MARTA MANUS, ON

 9                                    BEHALF OF PLAINTIFFS

10 on the following parties:
    Counsel for Defendant                             Co-counsel for Plaintiffs
11 Gregory W. Knopp, Esq.                             Edward J. Wynne, Esq.
    Jonathan P. Slowik, Esq.                          George R. Nemiroff, Esq.
12
    Laura L. Vaughn, Esq.                             WYNNE LAW FIRM
13 AKIN GUMP STRAUSS HAUER &                          80 E. Sir Francis Drake Blvd., Suite 3G
    FELD LLP                                          Wood Island
14 1999 Avenue of the Stars, Suite 600                Larkspur, CA 94939
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15 gknopp@akingump.com                                gnemiroff@wynnelawfinn.com
    jpslowik@akingump.com
16                                                    Gregg I. Shavitz, Esq.
    vaughnl@akingump.com
                                                      Alan Quiles, Esq.
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18                                                    1515 South Federal Highway, Suite 404
                                                      Boca Raton, FL 33432
19                                                    gshavitz@shavitzlaw.com
                                                      aquiles@shavitzlaw.com
20

21 in the following manner:

22          Submitting an electronic version of the document(s) via portable document format (PDF)

23 to the court at https://ecf.cand.uscourts.gov.; Service will be deemed effective as provided for by

24 Civil Local Rule 5-1 of the District Court of California, Northern District.

25          I declare that I am employed in the office of a member of the bar of this court at whose

26 direction this service is made.

27          Executed July 25, 2022, at San Diego, California.

28
                                           Karla Sousa

     PROOF OF SERVICE                                                   CASE NO. 3:20-CV-01178-JD
